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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 17, 2012, a copy of the foregoing “EXPERT REPORT OF

DR. GREG HALLMAN” was filed electronically. Notice of this filing will be sent by operation of

the Court’s CM/ECF system to all parties indicated on the electronic filing receipt. This filing may

be accessed through the Court’s CM/ECF system.

                                                /s/ Joseph T. Deters
                                              Joseph T. Deters (0012084)
